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Jane Gordon
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Attorney for Plaintiff

                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO

  ROBERT TEMPLIN,
                                                     Case No.
         Plaintiff,
         vs.                                         SUMMONS

  JOSH TEWALT, in his official capacity as the
  Director of the Idaho Department of Corrections;
  TIM RICHARDSON; in his official and his
  individual capacity; RANDY VALLEY, in his
  official and his individual capacity; RONA
  SIEGERT, in her official and her individual
  capacity; MHM SERVICES dba CENTURION
  HEALTH; CENTURION OF IDAHO, LLC;
  JAMIE AYUSO, an individual; CONNIE
  SMOCK, an individual; WILLIAM ROGERS, an
  individual; ASHLEY RINO, an individual;
  JOHNNY WU, an individual; CHRISTINA
  JACKSON, an individual; REX UNDERWOOD,
  an individual; REBECCA BALLARD, an
  individual; KYLE WAGNER, an individual;
  CHANDRA KING, an individual, CHRIS
  JOHNSON, an individual; TERISSA PETERSON,
  an individual; WENDY ORM, an individual;
  CODY NIECKO, an individual; BRIAN CROWL,
  an individual; CRYSTAL WILCOX, an individual;
  STACEY SCROBE, an individual,

         Defendants.


                           SUMMONS IN A CIVIL ACTION

TO:    CONNIE SMOCK



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       A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received

it) — or 60 days if you are the United States or a United States agency, or an officer or employee

of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff

an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil

Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorneys,

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       If you fail to respond, judgment by default will be entered against you for the relief

demanded in the complaint. You also must file your answer or motion with the court.


                                                     CLERK OF THE COURT

       DATE: 01/29/2025                              By:
                                                     Deputy Clerk
                                                                                        HaileyStevason
                                                                                    on Jan 29, 2025 9:27 am




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